      Case 1:12-cv-10481-DJC Document 1 Filed 03/15/12 Page 1 of 4




                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
ROXPROPS, LLC,                       )
      Plaintiff,                     )
                                     )
      v.                             ) Civil Action No. 12cv10481
                                     )
HARLEYSVILLE PREFERRED INS. CO. )
      Defendant.                     )
____________________________________)

                                    COMPLAINT

      This complaint asserts a claim of violation of the Fair Housing Act (“FHA”) and
the Americans with Disabilities Act (“ADA”).

                                      PARTIES

1. The Plaintiff, RoxProps, LLC (“ROXPROPS”), is a domestic limited liability
company with an address at PO BOX 76, Brookfield, Massachusetts, 01506.

2. The Defendant, Harleysville Preferred Insurance Company (“HARLEYSVILLE”), is
an insurance company doing business in the Commonwealth with an address of 355
Maple Avenue, Harleysville, Pennsylvania, 19438.

                                       FACTS

3. Prior to February 6, 2012, HARLEYSVILLE provided ROXPROPS with insurance
for 35-37 Juniper Street, Roxbury, Massachusetts (“PROPERTY”).

4. Prior to February 6, 2012, HARLEYSVILLE sent a notice of intention to cancel the
insurance for the PROPERTY.

5. On or about February 6, 2012, ROXPROPS informed HARLEYSVILLE, through its
agent, that the individuals residing at the PROPERTY were disabled and that to deny
insurance based upon their congregate living arrangement as a family of choice would be
discriminatory.

6. HARLEYSVILLE cancelled ROXPROPS insurance for the PROPERTY effective
March 2, 2012 stating, “Increase in hazard initially classed as a 2 family, however
tenancy is that of a halfway house for people recovering from drug and alcohol
additions.”




                                           1
      Case 1:12-cv-10481-DJC Document 1 Filed 03/15/12 Page 2 of 4




7. Recovery Educational Services, Inc. (“RES”) leases from ROXPROPS and operates a
sober house for recovering alcoholics and drug users at the PROPERTY which is the
subject of this complaint.

8. RES houses disabled persons, as “disability” or “handicap” is defined under the Fair
Housing Act and ADA.

                                        COUNT I
                                    (Fair Housing Act)

9. Plaintiff incorporates by reference and restates herein paragraphs 1 through 8 supra.

10. 42 U.S.C. Section 3601(f)(1) declares it unlawful to discriminate in the sale, or
rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
because of a handicap of - - (A) that buyer or renter; (B) a person residing and intending
to reside in that dwelling after it is sold, rented or made available; or (C) any person
associated with that buyer or renter.

11. 42 U.S.C. Section 3601(f)(2) declares it unlawful to discriminate against any person .
. . in the provision of services or facilities in connection with such dwelling, because of a
handicap of - - (A) that person; (B) a person residing and intending to reside in that
dwelling after it is sold, rented or made available; or (C) any person associated with that
person.

12. 42 U.S.C. Section 3601(f)(3)(B) provides that “discrimination includes . . . a refusal
to make reasonable accommodations in rules, policies or services, when such
accommodations may be necessary to afford such person equal opportunity to use and
enjoy a dwelling.”

13. 24 C.F.R. Section 100.70 states, “[r]efusing to provide . . . property or hazard
insurance for dwellings or providing such services or insurance differently because of . . .
handicap” is conduct prohibited by 42 U.S.C. Section 3604.

14. HARLEYSVILLE has refused to provide standard property insurance at ordinary
rates to ROXPROPS because ROXPROPS leases the PROPERTY for purposes of
housing disabled individuals.

15. HARLEYVILLE’s denial of property insurance at ordinary rates to ROXPROPS is
discriminatory.

16. ROXPROPS has had to pay in increased premium for property insurance and is at
risk of not having the ability to maintain insurance for the PROPERTY.

17. HARLEYVILLE’s conduct has resulted in the denial of equal access to housing for
the disabled residents of the PROPERTY.



                                             2
       Case 1:12-cv-10481-DJC Document 1 Filed 03/15/12 Page 3 of 4




18. ROXPROPS must attempt to pass this increased insurance cost on to RES which will
make housing “financially” less available to the disabled.

19. ROXPROPS and the individuals residing at the PROPERTY have been harmed by:
1) HARLEYVILLE’s denial of insurance on equal terms to those that are not disabled,
and 2) its refusal to make an accommodation in its practices for a provider of housing to
the disabled.

                                      COUNT II
                            (Americans with Disabilities Act)

20. Plaintiff incorporates by reference and restate herein paragraphs 1 through 19 supra.

21. Under the ADA, “No individual shall be discriminated against on the basis of
disability in the full and equal enjoyment of the goods, services, facilities, privileges,
advantages, or accommodations of any place of public accommodation by any person
who owns, leases (or leases to), or operates a place of public accommodation.”

22. The ADA includes “insurance office” in its definition of public accommodation.

23. The Department of Justice has issued a Technical Assistance Manual to provide
guidance on the ADA, which states in part, “[i]nsurance offices are places of public
accommodation, and, as such, may not discriminate on the basis of disability in the sale
of insurance contracts or in the terms or conditions of the insurance contracts they offer.”

24. ROXPROPS seeks access to the same insurance policies and terms available to other
landlords leasing to families who are not disabled persons living together.

25. HARLEYVILLE has denied ROXPROPS equal access to its insurance policies in
violation of the ADA.

26. ROXPROPS has suffered monetary damages as a result of said violation of the
ADA.

        WHEREFORE, on the foregoing claims, Plaintiff prays for findings in its favor
as follows:

        1) That the Property houses persons in recovery from alcohol and/or drug abuse
and are “handicapped” for purposes of the Fair Housing Act and ADA;
        2) That a refusal to provide insurance for 35-37 Juniper Street, Roxbury,
Massachusetts on the same terms as that afforded a two family classification is
discriminatory under the Fair Housing Act and ADA.
        3) That a refusal to provide hazard insurance for 35-37 Juniper Street, Roxbury,
Massachusetts on the same terms as that afforded a two family classification is a refusal
to provide a reasonable accommodation under the Fair Housing Act.



                                              3
      Case 1:12-cv-10481-DJC Document 1 Filed 03/15/12 Page 4 of 4




       4) That RoxProps, LLC be awarded its reasonable costs and attorney fees,
pursuant to the Fair Housing Act and ADA;
       5) Compensatory and consequential damages suffered by RoxProps, LLC;
       6) Punitive damages; and
       7) Such other relief as may be just and necessary.

Dated: March 15, 2012

RoxProps, LLC
By its attorney,

/s/Andrew J. Tine
Andrew J. Tine (BBO#633639)
Law Offices of Andrew J. Tine
251 Thames Street, 2nd Floor
Bristol, RI 02809
(401) 396-9002
atine@tinelaw.com




                                          4
